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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF JOEL FROST-TIFT
PALO ALTO, et al.,                    (PUBLIC COUNSEL) IN SUPPORT OF
              Plaintiffs,             PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING ORDER
     v.                               AND PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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                  DECLARATION OF JOEL FROST-TIFT,
   SENIOR SUPERVISING ATTORNEY FOR PUBLIC COUNSEL’S IMMIGRANTS’
          RIGHTS PROJECT, UNACCOMPANIED CHILDREN’S TEAM


I, Joel Frost-Tift, make the following statements on behalf of Public Counsel. I certify
under penalty of perjury that the following statement is true and correct pursuant to 28
U.S.C. § 1746.
   1. My name is Joel Frost-Tift, and I am the Senior Supervising Attorney of the
      Unaccompanied Children’s Team at Public Counsel, a nonprofit public interest law firm in
      Los Angeles dedicated to advancing civil rights and racial and economic justice, as well as
      to amplifying the power of our clients through comprehensive legal advocacy. Public
      Counsel is one of the primary organizations dedicated to providing legal services to
      indigent unaccompanied immigrant children who are released from Office of Refugee
      Resettlement (ORR) custody throughout the greater Los Angeles area.
   2. The Unaccompanied Children’s team is the largest of four teams within the Immigrants’
      Rights Project at Public Counsel. The Immigrants’ Rights Project practices holistic,
      trauma-informed advocacy, recognizing that our clients come to us with extraordinary
      strengths, but also vulnerability due to the violence many have experienced through forced
      migration and our dysfunctional immigration system. Our team of advocates collaborates
      with immigrant clients and communities to fight fearlessly for legal protections and a just
      immigration system.
   3. In order to carry out this mission, Public Counsel represents unaccompanied children who
      are not in ORR custody in immigration proceedings. We further host Immigrant Justice
      Corps (IJC) fellows to represent unaccompanied children in removal proceedings and
      provide Spanish-language tutoring for staff representing unaccompanied children.
   4. Public Counsel has been providing legal services for unaccompanied children funded by
      U.S. Department of Health and Human Services (HHS) in the greater Los Angeles area
      since 2014. Public Counsel serves around 200 unaccompanied children each year.
   5. Public Counsel currently has 14 staff members funded by HHS who are dedicated to
      providing legal services to unaccompanied children. They are a supervising attorney, a
      program manager, six staff attorneys, one IJC fellow, one social worker, one case
      coordinator, and three paralegals.
   6. Public Counsel provides full scope representation, which includes representation in state
      courts, in removal proceedings before the immigration court, in appellate proceedings
      before the Board of Immigration Appeals, in petitions for review in the U.S. Court of
      Appeals for the Ninth Circuit, and in applications for affirmative humanitarian relief like
      asylum and Special Immigrant Juvenile Status before USCIS. Our staff frequently

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   represent clients in the Los Angeles, Orange County, and Van Nuys immigration courts,
   the Los Angeles Asylum Office, and state courts in Los Angeles, Orange, San Bernardino,
   Riverside, Ventura and Santa Barbara counties. We also provide Know Your Rights
   services to communities throughout Southern California.
7. Public Counsel has witnessed pro se children in court struggle to articulate their claims due
   to their age, language barriers, and the complexity of immigration law. Most of these
   children cannot afford private attorneys, so the loss of the HHS funding would prove
   devastating for them since it would greatly decrease the number of providers who could
   represent them.
8. Our Unaccompanied Children’s team receives referrals from existing clients, the
   community, and the online Acacia Center for Justice referral database system. Once we
   receive a referral we conduct a brief phone screening, followed by a more in-depth intake
   before initiating representation of a child by signing a representation agreement. When we
   have capacity to take on cases, we accept all cases that are eligible under HHS funding
   guidelines where the child resides within our service area.
9. Immigration judges have often expressed gratitude to Public Counsel for the efficiency we
   bring to their dockets, and they have referred children to Public Counsel. They have
   remarked to our clients that they are lucky to have such quality representation.
10. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
    issued a national contract stop work order for Legal Services for Unaccompanied Children,
    effective immediately, which extended to all four Contract Line Numbers (CLINs) of the
    contract for which Public Counsel is a subcontractor of the Acacia Center for Justice: (1)
    KYR presentations and legal consultations for pro se children in ORR facilities; (2) Legal
    representation for unaccompanied children not in ORR custody; (3) Legal representation
    for unaccompanied children in ORR custody; and (4) Spanish-language tutoring for
    organizational staff who work with children. Without further elaboration on duration or
    reasoning, the stop work order stated that it “shall remain in place until you are notified
    otherwise” and “is being implemented due to causes outside of your control and should not
    be misconstrued as an indication for poor performance.”
11. Members of Public Counsel learned of the stop work order suddenly on February 18, 2025,
    when we received communications from the Acacia Center for Justice and from the Center
    for Gender and Refugee Studies abruptly informing us that trainings and officer hours had
    been cancelled. Then, just as suddenly, HHS rescinded the stop work order on February 21,
    2025.
12. On March 21, 2025, again without warning, we learned that HHS (through the U.S.
    Department of the Interior) partially terminated this same contract with Acacia Center for
    Justice for which Public Counsel is a subcontractor. This termination was effective the


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       same day, March 21, 2025. HHS terminated the contract with respect to three of the four
       Contract Line Numbers CLINs: (1) CLIN2, Legal representation for unaccompanied
       children not in ORR custody; (2) CLIN3, Legal representation for unaccompanied children
       in ORR custody; and (3) CLIN4, Spanish-language tutoring for organizational staff who
       work with children. For now, HHS has left in place only CLIN1, which funds KYR
       presentations and confidential legal consultations for pro se children in ORR facilities. Per
       the partial termination, HHS ordered Acacia and all subcontractors—which includes Public
       Counsel—to stop work immediately on CLINs 2, 3, and 4. HHS provided no justification
       for the partial termination other than “the Government’s convenience.”
   13. HHS provides about $1 million per year in funding for 14 of the 15 staff members on Public
       Counsel’s Unaccompanied Children’s Team. This accounts for about 5% of Public
       Counsel’s annual operating budget. Without this funding, we will be unable to maintain
       this staffing of the Unaccompanied Children’s team. This loss of staff would have a
       devastating impact on our ability to continue to represent unaccompanied children.
   14. The partial contract termination and the uncertainty of continued HHS funding have had a
       serious deleterious effect on morale within the organization. Members of our staff have
       stated their intention to look for other jobs because of the need for reliable continued
       employment. The anxiety that the partial contract termination and the uncertainty has
       caused our staff as well as the time we have devoted to contingency planning have impacted
       our ability to focus squarely on representing our clients. In addition, we are unable to take
       on new clients due to the funding uncertainty.
   15. Children without representation are much more likely to be denied relief and ordered
       removed to countries where they fear harm, contrary to Public Counsel’s mission of
       advancing civil rights and justice for all.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on the 22nd of March 2025, in Burbank, CA.


_______________________________
Joel Frost Tift, Esq.
Senior Supervising Attorney
Unaccompanied Children’s Team
Public Counsel




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